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                                                               USDC SDNY
                                                               DOCUMENT
  UNITED STATES DISTRICT COURT
                                                               ELECTRONICALLY FILED
  SOUTHERN DISTRICT OF NEW YORK
                                                               DOC #:
  JULIAN KAHLON,                                               DATE FILED: 10/20/2020

                Plaintiff(s),
                                                    1:20-CV-03774(MKV) (SN)
  -against-
                                                    STIPULATED PROTECTIVE ORDER
   PROJECT VERTE, INC.

                Defendant(s).

         The Court having found that good cause exists for issuance of an appropriately tailored

  confidentiality order governing the pre-trial phase of this action, and the parties having stipulated

  to the following provisions, it is hereby ORDERED that any person subject to this Order –

  including without limitation the parties to this action, their attorneys, representatives, agents,

  experts and consultants, acting as such, all third parties providing discovery in this action, and all

  other interested persons with actual or constructive notice of this Order shall adhere to the

  following terms, upon pain of contempt:

  Discovery Materials May Be Designated as Confidential

         1.       Any person subject to this Order, including but not limited to a individual or entity

                  that is party to this litigation, who receives from any other person any “Discovery

                  Material” (i.e., information of any kind provided in the course of discovery in this

                  action) that is designated as “Confidential” pursuant to the terms of this Order shall

                  not disclose such Confidential Discovery Material to anyone else except as

                  expressly permitted hereunder.

         2.       The person producing Discovery Material may designate as “Confidential” any

                  portion thereof that contains non-public business, commercial, financial, or

                  personal information, the public disclosure of which is either restricted by law or



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                   would likely, in the good faith opinion of the producing person, seriously harm the

                   producing person’s business, commercial, financial, or personal interests or cause

                   the producing person to violate his, her, or its privacy or confidentiality obligations

                   to others. Where the confidential portion is reasonably separable from the non-

                   confidential portion, via redaction or otherwise, only the confidential portion shall

                   be so designated.

          3.       With respect to the confidential portion of any Discovery Material other than

                   deposition transcripts and exhibits, the producing person or that person’s counsel

                   may designate such portion as “Confidential” by stamping or otherwise clearly

                   marking as “Confidential” the document or protected portion in a manner that will

                   not interfere with legibility or audibility. Deposition testimony may be designated

                   as “Confidential” either on the record during the deposition or in writing within

                   twenty (20) business days of receipt of the transcript. If so designated, the final

                   transcript of the designated testimony shall be marked “Confidential Information

                   Governed by Protective Order” by the reporter.

          4.       If at any time prior to the trial of this action, a producing person realizes that some

                   portion of Discovery Material that that person previously produced without

                   limitation should be designated as “Confidential,” the producing person may so

                   designate that portion by promptly notifying all parties in writing. Such designated

                   portion of the Discovery Material will thereafter be treated as Confidential under

                   the terms of this Order. In addition, the producing person shall provide each other

                   party with replacement versions of such Discovery Material that bears the

                   “Confidential” designation within ten (10) business days of providing such notice.



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    Who May Receive Confidential Materials

          5.       No person subject to this Order, other than the producing person, shall disclose any

                   Confidential Discovery Material to any other person whomsoever, except to:

                   (a)    the parties to this action, including their designated representatives;

                   (b)    counsel retained specifically for this action, including any paralegal,

                          clerical or other assistant employed by such counsel and assigned

                          specifically to work on this action;

                   (c)    as to any document, its author, its addressee, and any other person shown

                          on the face of the document as having received a copy;

                   (d)    any witness who counsel for a party in good faith believes may be called

                          to testify at trial or deposition in this action, provided such person has

                          first executed a Non-Disclosure Agreement in the form annexed hereto;

                   (e)    any person retained by a party to serve as an expert witness or consultant or

                          otherwise provide specialized advice to counsel in connection with this

                          action, provided such person has first executed a Non-Disclosure

                          Agreement in the form annexed hereto;

                   (f)    stenographers and video technicians engaged to transcribe or record

                          depositions conducted in this action;

                   (g)    independent photocopying, graphic production services, or other litigation

                          support services employed by the parties or their counsel to assist in this

                          action, including e-discovery and computer service personnel performing

                          duties in relation to a computerized litigation system;

                   (h)    the Court and its staff; and



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                   (i)    any other person whom the producing person, or other person designating

                          the Discovery Material “Confidential,” agrees in writing may have access

                          to such Confidential Discovery Material.

          6.       Prior to the disclosure of any Confidential Discovery Material to any person

                   referred to in subparagraphs 5(d) or 5(e) above, such person shall be provided by

                   counsel with a copy of this Protective Order and shall sign a Non-Disclosure

                   Agreement, in the form annexed hereto, stating that that person has read this Order

                   and agrees to be bound by its terms. Counsel shall retain each signed Non-

                   Disclosure Agreement, hold it in escrow, and produce it to opposing counsel prior

                   to such person being permitted to testify (at deposition or trial).

          7.       If any individual or entity subpoenas, orders production, or requests discovery of

                   Confidential Discovery Material from a receiving person other than in the above-

                   captioned matter, the receiving person shall: (1) immediately notify the producing

                   person of the subpoena, order, or discovery request so as to permit the producing

                   person to object, to seek a protective order from the appropriate court, or to take

                   other appropriate steps to protect the Confidential Discovery Material; and (2) not

                   produce the Confidential Discovery Material unless and until the receiving person

                   is ordered to do so by a court..

    Filing Confidential Materials in this Action

          8.       Any person who either objects to any designation of confidentiality, or who, by

                   contrast, requests still further limits on disclosure (such as “attorneys’ eyes only”),

                   may at any time prior to the trial of this action serve upon the designating person

                   and all other parties a written notice stating with particularity the grounds of the

                   objection or request. If agreement cannot be reached promptly, counsel for all
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                   affected persons shall request a joint telephone call with the Court or otherwise

                   follow instructions form the Court to obtain a ruling.

          9.       Notwithstanding the designation of material as “Confidential” in discovery, there is

                   no presumption that such Confidential Discovery Material will be filed with the

                   Court under seal. The parties shall follow § III(F) of Magistrate Judge Sarah

                   Netburn’s February 3, 2020 Individual Practices with respect to pretrial requests

                   and procedures for filing under seal.

          10.      All persons are hereby placed on notice that the Court is unlikely to seal or

                   otherwise afford confidential treatment to any Discovery Material introduced in

                   evidence at trial, even if such material was previously designated as Confidential

                   or sealed during pretrial proceedings.

          11.      Each person who has access to Confidential Discovery Material shall take all due

                   precautions to prevent the unauthorized or inadvertent disclosure of such material.




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Inadvertent Disclosure of Privileged Materials

          12.   If, in connection with this litigation, and despite having taken reasonable steps to

                prevent the disclosure of information that it claims is subject to a claim of attorney-

                client privilege or attorney work product, a producing person inadvertently

                discloses information subject to a claim of attorney-client privilege or attorney

                work product protection (“Inadvertently Disclosed Information”), such disclosure,

                in itself, shall not constitute or be deemed a waiver or forfeiture of any claim of

                privilege or work product protection with respect to the Inadvertently Disclosed

                Information and its subject matter.

          13.   If a disclosing person makes a claim of inadvertent disclosure, all receiving

                persons shall, within five (5) business days, return or destroy all copies of the

                Inadvertently Disclosed Information, and provide a certification of counsel that all

                such information has been returned or destroyed.

          14.   Within ten (10) business days of the notification that such Inadvertently Disclosed

                Information has been returned or destroyed, the disclosing person shall produce a

                privilege log with respect to the Inadvertently Disclosed Information.




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          15.   If a receiving person thereafter moves the Court for an order compelling

                production of the Inadvertently Disclosed Information, that motion shall be filed

                under seal, and shall not assert as a ground for entering such an order the mere fact

                of the inadvertent production. The disclosing person retains the burden of

                establishing the privileged or protected nature of any Inadvertently Disclosed

                Information. Nothing in this Order shall limit the right of any party to request an in

                camera review of the Inadvertently Disclosed Information.

    Termination of the Litigation

          16.   This Protective Order shall survive the termination of the litigation. Within 30 days

                of the final disposition of this action, all Confidential Discovery Material and all

                copies thereof, shall be promptly returned to the producing person, or, at the option

                of the receiving person, destroyed, except that the Parties’ counsel shall be

                permitted to retain their working files on the condition that those files will remain

                protected. In the event that the receiving person decides to destroy Confidential

                Discovery Material, the receiving person shall so certify in writing to the

                producing person that the receiving person has undertaken its best efforts to

                destroy such physical objects and documents, and that such physical objects and

                documents have been destroyed to the best of the receiving person’s knowledge.

          17.   During the pendency of this case only, this Court shall retain jurisdiction over all

                persons subject to this Order to the extent necessary to enforce any obligations

                arising hereunder or to impose sanctions for any contempt thereof.




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            SO STIPULATED.

            For Plaintiffs:                   For Defendants:

           Signed: � �                        Signed:-d(/W-4 ; ---&� _.,
           Name: Ethan Krasnoo                Name: A. Michael Weber
                 Alice Jump                          Rina Bersohn
           Dated: October 16, 2020            Dated: October�' 2020




                                              SO ORDERED.


            Dated:_October
                   ____           20
                           20 � 20_
                                              MARY KAY VYSKOCIL
                                              United States District Judge




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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  JULIAN KAHLON,

                  Plaintiff,
                                                   1:20-CV-03774(MKV) (SN)
  -against-
                                                   NON-DISCLOSURE AGREEMENT
  PROJECT VERTE INC.,

                  Defendant(s).


           I,                               [print name], acknowledge that I have read and

  understand the Protective Order in this action governing the non-disclosure of those portions of

  Discovery Material that have been designated as Confidential. I agree that I will not disclose such

  Confidential Discovery Material to anyone other than for purposes of this litigation and that at the

  conclusion of the litigation I will return all discovery information to the party or attorney from

  whom I received it. By acknowledging these obligations under the Protective Order, I understand

  that I am submitting myself to the jurisdiction of the United States District Court for the Southern

  District of New York for the purpose of any issue or dispute arising hereunder and that my willful

  violation of any term of the Protective Order could subject me to punishment for contempt of

  Court.

           Dated:                 _
                                                 [Signature]




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